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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NOT A REAL HOLDING COMPANY INC.,
                                                          Case No. 22-cv-04776
                         Plaintiff,
        v.                                                Judge Sara L. Ellis

                                                          Magistrate Judge Sunil R. Harjani
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                         Defendants.



                                      AMENDED COMPLAINT

        Plaintiff Not a Real Holding Company Inc. (“Plaintiff”) hereby brings the present action

against the Partnerships and Unincorporated Associations Identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows:

                              I.       JURISDICTION AND VENUE

        1.       This Court has original subject matter jurisdiction over Plaintiff’s claims pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b) and 28

U.S.C. § 1331.

        2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants because Defendants structure their

business activities so as to target consumers in the United States, including Illinois, through at least

the fully interactive e-commerce stores operating under the aliases identified on Schedule A

attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to Illinois

residents by setting up and operating e-commerce stores that target United States consumers, offer
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shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, have sold products using infringing and counterfeit versions of Plaintiff’s federally

registered trademark (collectively, the “Unauthorized Products”) to residents of Illinois. Each of

the Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and has

wrongfully caused Plaintiff substantial injury in the state of Illinois.

                                     II.     INTRODUCTION

       3.      Plaintiff filed this case to prevent e-commerce store operators who trade upon

Plaintiff’s reputation and goodwill from further selling and/or offering for sale Unauthorized

Products. Defendants create e-commerce stores under one or more Seller Aliases and then

advertise, offer for sale, and/or sell Unauthorized Products to unknowing consumers. E-commerce

stores operating under the Seller Aliases share identifiers, such as design elements and similarities

of the Unauthorized Products offered for sale, establishing that a logical relationship exists

between them, and that Defendants’ counterfeiting operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants take advantage of a set of

circumstances, including the anonymity and mass reach afforded by the Internet and the cover

afforded by international borders, to violate Plaintiff’s intellectual property rights with impunity.

Defendants attempt to avoid liability by operating under one or more Seller Aliases to conceal both

their identities, locations, and the full scope and interworking of their counterfeiting operation.

Plaintiff is forced to file this action to combat Defendants’ counterfeiting of its registered

trademark, as well as to protect consumers from purchasing Unauthorized Products over the

internet. Plaintiff has been, and continues to be, irreparably damaged through consumer confusion

and dilution of its valuable trademark because of Defendants’ actions and therefore seeks

injunctive and monetary relief.

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                                     III.    THE PARTIES

       4.      Plaintiff Not a Real Holding Company Inc. is a Canadian corporation having its

principal place of business at 35 McCaul Street, Suite 405, Toronto, Ontario, Canada M5T1V7

and is the owner of the trademark rights asserted in this action.

       5.      Plaintiff’s sister company, Not a Real Company Productions, Inc., produced the

critically acclaimed and widely-adored television series Schitt’s Creek. Schitt’s Creek is a

Canadian television sitcom created by Dan Levy and his father, Eugene Levy, that aired on CBC

Television from 2015 to 2020 and premiered on Netflix in 2017. The show centers on a wealthy

video store magnate, Johnny Rose (Eugene Levy), his former soap-star wife Moira (Catherine

O’Hara), and their spoiled adult children - son David (Daniel Levy) and daughter Alexis (Annie

Murphy). When the Roses suddenly finds themselves broke, they are forced to leave their lavish

lifestyles and move to Schitt’s Creek, a town that Johnny bought years earlier as a joke.

       6.      In 2019, Schitt’s Creek was nominated for Outstanding Comedy Series,

Outstanding Lead Actor for Eugene Levy, and Outstanding Lead Actress for Catherine O’Hara at

the Primetime Emmy Awards. In 2020, the show made history by sweeping all seven Primetime

Emmy Awards comedy categories, including Outstanding Comedy Series. Schitt’s Creek was the

first series to sweep every comedy category. The show then won the 2021 Golden Globe for Best

Television Series – Musical or Comedy, while Catherine O’Hara took home best Actress in a

Television Series – Musical or Comedy. Schitt’s Creek has blossomed into a cult classic and

stands as one of the best sitcoms of the last decade.

       7.      Plaintiff markets and sells a variety of products emanating from Schitt’s Creek,

including clothing, puzzles, keychains, signs, bags, blankets, cups, and other merchandise bearing

Plaintiff’s SCHITT’S CREEK trademark (collectively, “Plaintiff’s Products”).            Plaintiff’s

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Products have become enormously popular and even iconic, driven by Plaintiff’s quality standards

and innovative designs.       Among the purchasing public, Plaintiff’s Products are instantly

recognizable as such. Plaintiff’s Products are distributed and sold to consumers through Plaintiff’s

website, schittscreek.shop.

       8.      Plaintiff has used the SCHITT’S CREEK trademark and has continuously sold

products under the SCHITT’S CREEK trademark (“Plaintiff’s Trademark”). As a result of this

long-standing use, strong common law trademark rights have amassed in Plaintiff’s Trademark.

Plaintiff’s use of the mark has also built substantial goodwill in Plaintiff’s Trademark. Plaintiff’s

Trademark is a famous mark and valuable asset of Plaintiff. Many of Plaintiff’s Products include

Plaintiff’s Trademark.

       9.      Plaintiff’s Trademark is registered with the United States Patent and Trademark

Office, which is included below.

  Registration                                             Registration
   Number                      Trademark                      Date         Goods and Services
                                                                          For: Sound recordings
                                                                          featuring musical
                                                                          soundtracks and audio
                                                                          from comedic and
                                                                          musical television
                                                                          programs; motion
                                                                          picture films featuring
                                                                          comedy and pre-
                                                                          recorded video tapes
     5,964,319             SCHITT’S CREEK                   Jan. 21, 2020 featuring television
                                                                          programs in the field
                                                                          of comedy and music;
                                                                          pre-recorded audio
                                                                          tapes featuring musical
                                                                          soundtracks and audio
                                                                          from comedic and
                                                                          musical television
                                                                          programs, video
                                                                          cassettes, video tapes,
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                                                           video discs and digital
                                                           video discs containing
                                                           television programs in
                                                           the fields of comedy;
                                                           recorded magnetic
                                                           tapes with sounds and
                                                           images in the fields of
                                                           comedic television
                                                           programs and music;
                                                           phonograph records
                                                           and disks, namely, pre-
                                                           recorded phonograph
                                                           records and disks
                                                           featuring musical
                                                           soundtracks and audio
                                                           from comedic and
                                                           musical television
                                                           programs; interactive
                                                           games, namely,
                                                           interactive game
                                                           software; computer
                                                           game programs; video
                                                           game programs;
                                                           phonograph recordings
                                                           featuring musical
                                                           soundtracks and audio
                                                           from comedic and
                                                           musical television
                                                           programs and holders
                                                           for pre-recorded CDs
                                                           and cassettes in class
                                                           009.

                                                           For: Printed matter,
                                                           namely, books in the
                                                           fields of television
                                                           programs in particular
                                                           behind the scenes
                                                           information about the
                                                           television programs,
                                                           posters, greeting cards,
                                                           calendars, comic
                                                           books; stationery,
                                                           writing paper and
                                                           envelopes, writing

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                                                           pads, paper party
                                                           decorations, transfers
                                                           in the nature of
                                                           decalcomanias,
                                                           photograms; bumper
                                                           stickers; pens; pencils;
                                                           paint brushes; trading
                                                           cards in class 016.

                                                           For: Gym bags,
                                                           backpacks, purses,
                                                           luggage; key chains of
                                                           leather or imitation
                                                           leather in class 018.

                                                           For: Key chains of
                                                           plastic; figurines of
                                                           plastic, pillows being
                                                           bedding, home
                                                           accessories, namely,
                                                           pillows in class 020.

                                                           For: Travel mugs;
                                                           drinking glasses;
                                                           coffee cups; mugs in
                                                           class 021.

                                                           For: Towels, namely,
                                                           beach towels; home
                                                           accessories, namely,
                                                           throws in class 024.

                                                           For: Men's, women's
                                                           and children's clothing,
                                                           namely, hats, toques, t-
                                                           shirts, jackets, pants,
                                                           shorts, skirts, dresses,
                                                           sweatshirts, shirts and
                                                           hooded sweatshirts;
                                                           footwear; costumes,
                                                           namely, Halloween
                                                           costumes, masquerade
                                                           costumes in class 025.

                                                           For: Board games;

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                                                           interactive games,
                                                           namely, interactive
                                                           board games, action
                                                           skill games, parlor
                                                           games, party games,
                                                           role-playing games,
                                                           table top games;
                                                           playing cards; card
                                                           games in class 028.

                                                           For: Entertainment
                                                           services, namely,
                                                           production of
                                                           television programs,
                                                           the production and
                                                           distribution of
                                                           television programs
                                                           and live entertainment
                                                           features in the nature
                                                           of plays, comedy
                                                           shows, and reality
                                                           television programs;
                                                           production of pre-
                                                           recorded audio tapes,
                                                           video cassettes, video
                                                           tapes, video discs and
                                                           digital video discs for
                                                           others; production of
                                                           motion pictures and
                                                           television features;
                                                           providing
                                                           entertainment
                                                           information about
                                                           television programs,
                                                           games, fan sites and
                                                           clubs via an internet
                                                           website; online
                                                           publication of
                                                           newsletters regarding
                                                           television programs in
                                                           class 041.

                                                           For: Customizable web
                                                           space for website
                                                           members, namely,

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                                                                            providing a website
                                                                            featuring technology
                                                                            that enables users to
                                                                            customize personalized
                                                                            web space, and post
                                                                            comments and videos
                                                                            in class 042.



       10.     The above U.S. registration for Plaintiff’s Trademark is valid, subsisting, and in

full force and effect. The registration for Plaintiff’s Trademark constitutes prima facie evidence

of its validity and of Plaintiff’s exclusive right to use Plaintiff’s Trademark pursuant to 15 U.S.C.

§ 1057(b). A true and correct copy of the United States Registration Certificate for Plaintiff’s

Trademark is attached hereto as Exhibit 1.

       11.     Plaintiff’s Trademark is exclusive to Plaintiff and is displayed extensively on

Plaintiff’s Products and in marketing and promotional materials. Plaintiff’s Trademark is also

distinctive when applied to Plaintiff’s Products, signifying to the purchaser that the products come

from Plaintiff or its licensees and are manufactured to Plaintiff’s quality standards. Whether

Plaintiff manufactures the products itself or contracts with others to do so, Plaintiff has ensured

that its licensed products bearing Plaintiff’s Trademark are manufactured to the highest quality

standards.

       12.     Plaintiff’s Trademark is a famous mark, as that term is used in 15 U.S.C. §

1125(c)(1) and has been continuously used and never abandoned. The success of the Schitt’s

Creek series, in addition to the marketing of Plaintiff’s Products, has enabled the Schitt’s Creek

brand (“Schitt’s Creek Brand”) to achieve widespread recognition and fame and has made

Plaintiff’s Trademark one of the most well-known marks in the entertainment industry. The



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widespread fame, outstanding reputation, and significant goodwill associated with the Schitt’s

Creek Brand have made Plaintiff’s Trademark a valuable asset of Plaintiff.

       13.     Products bearing Plaintiff’s Trademark have been the subject of substantial and

continuous marketing and promotion. Plaintiff has and continues to market and promote Plaintiff’s

Trademark in the industry and to consumers through its website schittscreek.shop.

       14.     Plaintiff has expended substantial time, money, and other resources advertising,

promoting, and marketing Plaintiff’s Products. Plaintiff’s Products have also been the subject of

extensive unsolicited publicity due to the longstanding success of the Schitt’s Creek Brand. As a

result, products bearing Plaintiff’s Trademark are widely recognized and exclusively associated

by consumers as being high-quality products sourced from Plaintiff or its licensees. Plaintiff’s

Products have become among the most popular of their kind in the world. Plaintiff’s Trademark

has achieved tremendous fame and recognition, adding to the inherent distinctiveness of the mark.

As such, the goodwill associated with Plaintiff’s Trademark is of immeasurable value to Plaintiff.

       15.     Plaintiff’s Products are sold only by Plaintiff or through authorized licensees and

are recognized by the public as being exclusively associated with the Schitt’s Creek Brand.

       16.     Defendants are unknown individuals and business entities who own and/or operate

one or more of the e-commerce stores under the Seller Aliases identified on Schedule A and/or

other seller aliases not yet known to Plaintiff. On information and belief, Defendants reside and/or

operate in primarily Asian countries or other foreign jurisdictions and redistribute products from

the same or similar sources in those locations. Defendants have the capacity to be sued pursuant

to Federal Rules of Civil Procedure 17(b).

       17.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

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used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    If Defendants provide additional credible information regarding their

identities, Plaintiff will seek leave to amend the Amended Complaint.

                       IV.    DEFENDANT’S UNLAWFUL CONDUCT

       18.     The success of the Schitt’s Creek Brand has resulted in significant counterfeiting

of Plaintiff’s Trademark.    Because of this, Plaintiff has implemented an anti-counterfeiting

program that involves investigating suspicious websites and online marketplace listings identified

in proactive Internet sweeps. Recently, Plaintiff has identified many fully interactive e-commerce

stores offering Unauthorized Products on online marketplace platforms such as Alibaba Group

Holding Ltd. (“Alibaba”), AliExpress, Inc. (“AliExpress”), Amazon, Inc. (“Amazon”), eBay, Inc.

(“eBay”), Etsy, Inc. (“Etsy”), DHgate.com (“DHgate”), Fruugo.com (“Fruugo”), Redbubble Inc.

(“Redbubble”), Spreadshirt, Inc. (“Spreadshirt”), and ContextLogic, Inc. (“Wish”), including the

e-commerce stores operating under the Seller Aliases. The Seller Aliases target consumers in this

Judicial District and throughout the United States. According to a report prepared for The Buy

Safe America Coalition, most counterfeit products now come through international mail and

express courier services (as opposed to containers) due to increased sales from offshore online

counterfeiters. The Counterfeit Silk Road: Impact of Counterfeit Consumer Products Smuggled

Into the United States, prepared by John Dunham & Associates (Exhibit 2).

       19.     Because the counterfeit products do not enter normal retail distribution channels,

the US economy lost an estimated 300,000 or more full-time jobs in the wholesale and retail sectors

alone in 2020. Id. When accounting for lost jobs from suppliers that would serve these retail and

wholesale establishments, and the lost jobs that would have been induced by employees re-

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spending their wages in the economy, the total economic impact resulting from the sale of

counterfeit products was estimated to cost the United States economy over 650,000 full-time jobs

that would have paid over $33.6 billion in wages and benefits. Id. Additionally, it is estimated

that the importation of counterfeit goods costs the United States government nearly $7.2 billion in

personal and business tax revenues in the same period. Id.

       20.     Online marketplace platforms like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 4, and finding that on “at least

some e-commerce platforms, little identifying information is necessary for a counterfeiter to begin

selling” and that “[t]he ability to rapidly proliferate third-party online marketplaces greatly

complicates enforcement efforts, especially for intellectual property rights holders”.

Counterfeiters hedge against the risk of being caught and having their websites taken down from

an e-commerce platform by establishing multiple virtual storefronts. Exhibit 4 at p. 22. Since

platforms generally do not require a seller on a third-party marketplace to identify the underlying

business entity, counterfeiters can have many different profiles that can appear unrelated even

though they are commonly owned and operated. Exhibit 4 at p. 39. Further, “[e]-commerce

platforms create bureaucratic or technical hurdles in helping brand owners to locate or identify

sources of counterfeits and counterfeiters.” Exhibit 3 at 186-187. Specifically, brand owners are



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forced to “suffer through a long and convoluted notice and takedown procedure only [for the

counterfeit seller] to reappear under a new false name and address in short order”. Id. at p. 161.

       21.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, have sold and/or offered for sale Unauthorized Products to residents of Illinois.

       22.     Defendants concurrently employ and benefit from similar advertising and

marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Seller

Aliases appear sophisticated and accept payment in U.S. dollars in multiple ways, including via

credit cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller

Aliases often include content and images that make it very difficult for consumers to distinguish

their stores from an authorized retailer. Plaintiff has not licensed or authorized Defendants to use

Plaintiff’s Trademark, and none of the Defendants are authorized retailers of Plaintiff’s Products.

       23.     Many Defendants also deceive unknowing consumers by using Plaintiff’s

Trademark within the content, text, and/or meta tags of their e-commerce stores to attract

consumers using search engines to find websites relevant to Plaintiff’s Products. Other e-

commerce stores operating under the Seller Aliases omit using Plaintiff’s Trademark in the item

title to evade enforcement efforts while using strategic item titles and descriptions that will trigger

their listings when consumers are searching for Plaintiff’s Products.

       24.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

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information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

        25.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.

        26.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other common features, such as registration patterns, accepted

payment methods, check-out methods, keywords, advertising tactics, similarities in price and

quantities, the same incorrect grammar and misspellings, and/or the use of the same text and

images. Additionally, Unauthorized Products for sale by the Seller Aliases bear similar

irregularities and indicia of being counterfeit to one another, suggesting that the Unauthorized

Products were manufactured by and come from a common source and that Defendants are

interrelated.

        27.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com, and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.



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        28.    Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation despite Plaintiff’s enforcement.

Ecommerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to offshore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to plaintiffs.

        29.    Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Plaintiff have, jointly and severally, knowingly and willfully used and continue to use

Plaintiff’s Trademark in connection with the advertisement, distribution, offering for sale, and sale

of Unauthorized Products into the United States and Illinois over the Internet.

        30.    Defendants’ unauthorized use of Plaintiff’s Trademark in connection with the

advertising, distribution, offering for sale, and sale of Unauthorized Products, including the sale

of Unauthorized Products into the United States, including Illinois, is likely to cause, and has

caused, confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        31.    Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        32.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of Plaintiff’s Trademark in connection

with the sale, offering for sale, distribution, and/or advertising of infringing goods. Plaintiff’s


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Trademark is a highly distinctive mark. Consumers have come to expect the highest quality from

Plaintiff’s Products offered, sold, or marketed under Plaintiff’s Trademark.

       33.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of Plaintiff’s Trademark without Plaintiff’s permission.

       34.     Plaintiff’s United States registration for Plaintiff’s Trademark (Exhibit 1) is in full

force and effect. Upon information and belief, Defendants have knowledge of Plaintiff’s rights in

Plaintiff’s Trademark and are willfully infringing and intentionally using infringing and counterfeit

versions of Plaintiff’s Trademark. Defendants’ willful, intentional, and unauthorized use of

Plaintiff’s Trademark is likely to cause, and is causing, confusion, mistake, and deception as to the

origin and quality of the Unauthorized Products among the general public.

       35.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       36.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of Plaintiff’s

Trademark.

       37.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use of advertisement, promotion, offering to sell,

and/or sale of Unauthorized Products.


                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       38.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

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         39.      Defendants’ promotion, marketing, offering for sale, and sale of Unauthorized

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ Unauthorized Products by Plaintiff.

         40.      By using Plaintiff’s Trademark in connection with the offering for sale and/or sale

of Unauthorized Products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Unauthorized Products.

         41.      Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Unauthorized Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

         42.      Plaintiff has no remedy at law and will continue to suffer irreparable harm to its

reputation and the associated goodwill of the Schitt’s Creek Brand if Defendants’ actions are not

enjoined.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1)       That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

               a. using Plaintiff’s Trademark or any reproduction, counterfeit copies or colorable

                  imitations thereof in any manner in connection with the distribution, marketing,

                  advertising, offering for sale, or sale of any product that is not one of Plaintiff’s

                  Products or is not authorized by Plaintiff to be sold in connection with Plaintiff’s

                  Trademark;

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       b. passing off, inducing, or enabling others to sell or pass off any product as one of

           Plaintiff’s Products or any other product produced by Plaintiff, that is not Plaintiff’s

           or not produced under the authorization, control, or supervision of Plaintiff and

           approved by Plaintiff for sale under Plaintiff’s Trademark;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized Products are those sold under the authorization, control, or

           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

           with Plaintiff;

       d. further infringing Plaintiff’s Trademark and damaging Plaintiff’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiff, nor authorized by

           Plaintiff to be sold or offered for sale, and which bear any of Plaintiff’s Trademark;

2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction,

    including without limitation, any websites and/or online marketplace platforms such as

    Alibaba, AliExpress, Amazon, eBay, Etsy, DHgate, Fruugo, Redbubble, Spreadshirt, and

    Wish (collectively, the “Third Party Providers”) shall disable and cease displaying any

    advertisements used by or associated with Defendants in connection with the sale of

    counterfeit and infringing goods using Plaintiff’s Trademark;

3) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

    reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

    infringement of Plaintiff’s Trademark be increased by a sum not exceeding three times the

    amount thereof as provided by 15 U.S.C. § 1117;

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   4) In the alternative, that Plaintiff be awarded statutory damages for willful trademark

        counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

        Plaintiff’s Trademark;

   5) Plaintiff is further entitled to recover its attorney’s fees and full costs; and

   6)   Award any and all other relief that this Court deems just and proper.

Dated this 16th day of September 2022.         Respectfully submitted,


                                               /s/ Martin F. Trainor
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